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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                DELTA DIVISION

UNITED STATES OF AMERICA,

VS.                                                    CRIMINAL ACTION NO. 2:00CR94-P

MACK A. BOWENS,                                                                DEFENDANT.

                                              ORDER

       This matter comes before the court upon the Government’s request in their Memorandum

and Response to Bowens’s Objections to Presentence Report [255-1] that the court enter an order

requiring the defendant to formally elect whether he wishes to defend himself pro se or with counsel.

Upon due consideration of the request, the court finds as follows, to-wit:

       It is indeed unclear whether the defendant is currently acting pro se or with counsel. The

defendant’s pending February 8, 2006 objections to the presentence report were filed pro se. On

April 10, 2006, however, the court granted a Motion to Appear Pro Hac Vice for Attorney Jeffrey

M. Brandt as to Willie Hampton for the limited purpose of representing defendant on his Section

2255 motion. Despite this appearance by counsel, the defendant filed another pro se motion entitled

Motion For Clarification and/or Enforcement of Resentencing Order on May 10, 2006.

       In the interests of fairness and clarity, the court agrees that the defendant must formally elect

whether he is now acting pro se or with counsel.

       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1) The Government’s request in their Memorandum and Response to Bowens’s Objections

to Presentence Report [255-1] that the court enter an order requiring the defendant to formally elect

whether he wishes to defend himself pro se or with counsel is GRANTED; therefore,


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       (2) The defendant is instructed to formally elect within thirty (30) days of this Order whether

he intends to waive counsel and act pro se or whether he intends to proceed with counsel;

       (3) In the event the defendant elects to proceed with counsel, the court will strike the

defendant’s pro se February 8, 2006 objections to the presentence report and his pro se May 10, 2006

Motion For Clarification and/or Enforcement of Resentencing Order, and counsel is instructed to

handle said objections and any other matter the defendant wishes to bring before the court; and

       (4) In the event the defendant elects to proceed with counsel, the defendant is instructed not

to contact the court in any way save through counsel.

       SO ORDERED this the 15th day of May, A.D., 2006.


                                                      /s/ W. Allen Pepper, Jr.
                                                      W. ALLEN PEPPER, JR.
                                                      UNITED STATES DISTRICT JUDGE




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